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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 FRED L. NANCE, Jr.,                                )
                                                    )
                                Plaintiff,          )
                                                    )    No. 22 C 3861
                        v.                          )
                                                    )    Judge Alonso
 UNITED STATES, et al.,                             )
                                                    )
                                Defendant.          )

              DEFENDANT’S RULE 56.1(a)(3) STATEMENT OF FACTS
      IN SUPPORT OF ITS MOTION TO DISMISS OR FOR SUMMARY JUDGMENT

       Defendants, United States and the U.S. Department of Justice, through their attorney, John

R. Lausch, Jr., United States Attorney for the Northern District of Illinois, submit in accordance with

Local Rule 56.1, the following statement of material facts in support of defendants’ motion to

dismiss or alternatively for summary judgment:

       1.      In 2018, co-defendant Establishing Managing and Generating Effective Services

Inc. (“EMAGES, Inc.”) received a grant award from DOJ’s Office of Justice Programs and the

Bureau of Justice Assistance for a prison related program under the “Second Chance Act” (“SCA”).

Complaint at 13; Exhibit A, EMAGES award information.

       2.      EMAGES was the sole applicant to the grant program and, accordingly, had primary

responsibility for funding and managing the program. Hattie Wash, the President and CEO of

EMAGES, was the authorized grantee official and the project director. Exhibit B, EMAGES Award.

       3.      As part of the SCA grant program, DOJ made 26 grant awards in fiscal year 2018

totaling more than $20.5 million, one of which was a $500,000 award to EMAGES. Exhibit C,




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BJA FY 18 Second Chance Act Comprehensive Community-Based Adult Reentry Program award

information.

       4.      The EMAGES award was scheduled to start on October 1, 2018, and conclude on

       September 30, 2021. Complaint at 13; Exhibit D, BJA Second Chance Act solicitation at 13.

       5.      Through the grant solicitation, DOJ notified the applicants of the eligibility

requirement that only one entity may be the applicant. Id. at 2. The applicant must be the entity that

would have primary responsibility for carrying out the award, including administering the funding

and managing the entire program. Id.

       6.      In accordance with the eligibility requirement, DOJ only considered one applicant

entity, EMAGES, for the award in question, not Nance or his company, and therefore the grant was

awarded to EMAGES. Exhibit A, EMAGES award information; Exhibit D, BJA Second Chance

Act solicitation at 2.

       7.      Under the relevant requirements that applied to EMAGES’ grant award, recipients

are permitted to terminate awards by providing written notice to the awarding agency. See 2 C.F.R. §§

200.339-343.

       8.      In September 2020, Hattie Wash, the founder and CEO of EMAGES, informed DOJ

that she was terminating the EMAGES award because of, among other things, the COVID- 19

pandemic and COVID-related restrictions. Exhibit E, EMAGES Termination letter; Complaint at 22.

       9.      In the written notice provided to DOJ, Wash stated that COVID-19 and related

restrictions created financial instability for EMAGES and “prevented EMAGES from fulfilling the

[p]erformance measures of the Second Chance grant” and that although telehealth services

permitted EMAGES to continue providing services to some individua ls, the “[s]helter in [p]lace



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mandate for the State of Illinois has prevented us from collecting data inside Cook County Jail and

the Illinois Department of Correction.” Exhibit E, EMAGES Termination Letter.

        10.      In April 2020, Nance pursued a “whistleblower complaint” claiming “possible

fraud or misappropriation of funds” concerning the EMAGES award, alleging that EMAGES

misappropriated the grant award. Exhibit F, April 17, 2020, Letter.

        11.      Nance pursued his “whistleblower” complaints through the U.S. Office of Special

Counsel, which denied his complaints, noting that it lacked jurisdiction over individuals who are

not federal employees or applicants for federal employment. Exhibit G, OSC letter.

        12.      Nance then pursued his “whistleblower complaint” with the Office of the Inspector

General, where he repeated his allegation that EMAGES drew down grant funds for an ex-

employee, and claimed that Wash retaliated against him for reporting the questioned drawdowns by

removing him as the point of contact for the grant award and that Wash reduced Nance’s salary under

the grant. Exhibit H, August 28, 2020, Letter; Complaint at 20.

        13.      Nance alleges that EMAGES improperly drew down $3,050 in grant award funds for

an ex-employee. Compl. at 18. This small amount (which was addressed and investigated by OJP’s

accounting division) represents about 0.61% of the entire $500,000 grant award.

        14.      The OIG rejected Nance’s complaint stating “[w]e do not believe that you have

alleged that you suffered a reprisal in violation of [41 U.S.C.] § 4712(a).” Exhibit I, OIG letter.

OIG further found that Nance’s complaint failed to allege that he made a protected disclosure (i.e., a

communication that, among other things, reasonably evidenced gross mismanagement of a federal

contract or grant, a gross waste of federal funds, an abuse of authority relating to a federal contract

or grant, a substantial and specific danger to public health or safety, or a violation of law, rule, or regulation

related to a federal contract (including the competition for or negotiation of a contract) or grant) and that

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“significant doubt surrounds whether your complaint alleges that you suffered a personnel action, as

contemplated under § 4712(a).” Id.

       15.     Nance is not an employee of the Department of Justice. Compl. at 3.

       16.     Nance filed an FTCA claim with the DOJ on June 9, 2021, claiming that he was

“increasing my asking price to 1.25 million dollars.” Ex. J, FTCA claim. His FTCA claim again

raised the same whistleblower allegations that were previously dismissed by this court with prejudice,

and he alleged that the DOJ “worked in concert” with EMAGES to terminate his employment “for

filing whistleblower complaints.” Id. at 2. He also alleged that that the DOJ retaliated against him

by not allowing him to review applications to a grant program to which Nance had applied for an

award through his organization, C.L.I.C.K. Services. Id.        He further alleged that if his grant

application was unsuccessful, it would constitute further retaliation. Id.



                                                Respectfully submitted,

                                                JOHN R. LAUSCH, Jr.
                                                United States Attorney

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